                                          HEARING DATE: PER CMO
                                          RESPONSE DEADLINE: JULY 12, 2019
                                          REPLY DEADLINE: AUGUST 12, 2019


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                     CHAPTER 11

LEHMAN BROTHERS HOLDINGS INC., et al.,    Case No. 08-13555 (SCC)

                          Debtors.


LEHMAN BROTHERS HOLDINGS INC.,            Adv. Pro. No. 16-01019 (SCC)

                          Plaintiff,
        v.

1st ADVANTAGE MORTGAGE, L.L.C., et al.,

                         Defendant.


LEHMAN BROTHERS HOLDINGS INC.,            Adv. Pro. No. 18-01790 (SCC)

                          Plaintiff,
        v.

APPROVED FUNDING CORP.,

                         Defendant.


LEHMAN BROTHERS HOLDINGS INC.,            Adv. Pro. No. 18-01793 (SCC)

                          Plaintiff,
        v.

BROADVIEW MORTGAGE CORPORATION,

                         Defendant.


LEHMAN BROTHERS HOLDINGS INC.,            Adv. Pro. No. 18-01715 (SCC)
                          Plaintiff,
        v.
LHM FINANCIAL CORPORATION,

                          Defendant.




LEHMAN BROTHERS HOLDINGS INC.,              Adv. Pro. No. 18-01867 (SCC)

                            Plaintiff,
      v.

AMERICAN BANK and CONGRESSIONAL
BANCSHARES, INC. (successor-in-interest),

                           Defendants.


LEHMAN BROTHERS HOLDINGS INC.,              Adv. Pro. No. 18-01840 (SCC)

                            Plaintiff,
      v.

ARLINGTON     CAPITAL    MORTGAGE
CORPORATION and GATEWAY FUNDING
DIVERSIFIED MORTGAGE SERVICES, L.P.,

                           Defendants.

LEHMAN BROTHERS HOLDINGS INC.,              Adv. Pro. No. 18-01800 (SCC)

                            Plaintiff,
      v.

HARTLAND MORTGAGE CENTERS, INC.,

                           Defendant.


LEHMAN BROTHERS HOLDINGS INC.,              Adv. Pro. No. 18-01791 (SCC)

                            Plaintiff,
      v.

LOAN SIMPLE, INC. f/k/a ASCENT HOME
LOANS, INC. f/k/a PLACER FINANCIAL INC.,

                           Defendant.

LEHMAN BROTHERS HOLDINGS INC.,              Adv. Pro. No. 18-01717 (SCC)
                              Plaintiff,
       v.

LUXURY MORTGAGE CORP.,

                            Defendant.



LEHMAN BROTHERS HOLDINGS INC.,                     Adv. Pro. No. 18-01806 (SCC)

                              Plaintiff,
       v.

NEW FED MORTGAGE, CORP.,

                             Defendant.


LEHMAN BROTHERS HOLDINGS INC.,                     Adv. Pro. No. 18-01808 (SCC)

                              Plaintiff,
       v.

OAKTREE FUNDING CORP.,

                             Defendant.


LEHMAN BROTHERS HOLDINGS INC.,                     Adv. Pro. No. 18-01811 (SCC)

                              Plaintiff,
       v.

MC ADVANTAGE, LLC, f/k/a REPUBLIC
MORTGAGE HOME LOANS, LLC,

                             Defendant.


LEHMAN BROTHERS HOLDINGS INC.,                     Adv. Pro. No. 18-01813 (SCC)

                              Plaintiff,
       v.

REPUBLIC STATE MORTGAGE CO.,
individually and as successor by merger to Union
Trust Mortgage Corporation,

                             Defendant.


LEHMAN BROTHERS HOLDINGS INC.,                     Adv. Pro. No. 18-01815 (SCC)
                        Plaintiff,
     v.

RESIDENTIAL HOME FUNDING CORP.,

                       Defendant.


LEHMAN BROTHERS HOLDINGS INC.,          Adv. Pro. No. 18-01831 (SCC)

                        Plaintiff,
     v.

ROSS MORTGAGE CORPORATION,

                       Defendant.


LEHMAN BROTHERS HOLDINGS INC.,          Adv. Pro. No. 18-01824 (SCC)

                        Plaintiff,
     v.

STERLING    NATIONAL         MORTGAGE
COMPANY, INC.,

                       Defendant.


LEHMAN BROTHERS HOLDINGS INC.,          Adv. Pro. No. 18-01826 (SCC)

                        Plaintiff,
     v.

SUN AMERICAN MORTGAGE COMPANY,

                       Defendant.


LEHMAN BROTHERS HOLDINGS INC.,          Adv. Pro. No. 18-01735 (SCC)

                        Plaintiff,
     v.

SUN WEST MORTGAGE COMPANY, INC.,

                       Defendant.


LEHMAN BROTHERS HOLDINGS INC.,          Adv. Pro. No. 18-01828 (SCC)
                        Plaintiff,
       v.

WINDSOR CAPITAL MORTGAGE
CORPORATION,

                               Defendant.



LEHMAN BROTHERS HOLDINGS INC.,                        Adv. Pro. No. 18-01827 (SCC)

                                Plaintiff,
       v.

WR STARKEY MORTGAGE, LLP,

                              Defendant.


       NOTICE OF CERTAIN DEFENDANTS’ OMNIBUS MOTION TO DISMISS

       PLEASE TAKE NOTICE that a hearing on the annexed Omnibus Motion to Dismiss

and Supporting Memorandum of Law (the “Omnibus Motion”) will be held before the

Honorable Shelley C. Chapman, United States Bankruptcy Judge, United Stated Bankruptcy

Court for the Southern District of New York, One Bowling Green, Courtroom 623 (SCC), New

York, New York, 10004, at a date and time to be determined by the Court. (See Case

Management Order ¶II(J), ECF No. 825.)

       PLEASE TAKE FURTHER NOTICE that, pursuant to and in accordance with

Paragraph II(C) of the Amended Case Management Order dated March 13, 2019 (ECF No. 825),

Plaintiff’s brief in opposition to the Omnibus Motion shall be filed and served on July 12, 2019

and Defendants’ reply brief in support of the Omnibus Motion shall be filed and served on

August 12, 2019.

       PLEASE TAKE FURTHER NOTICE that if no objections or responses are timely

filed and served with respect to the Omnibus Motion, Defendants may submit to the Bankruptcy
Court an order dismissing the Complaints, which order may be entered without any further

notice or opportunity to be heard.

Dated: May 13, 2019
       New York, New York                           Lani Adler Partners LLC

                                 By:                      /s/ Lani A. Adler
                                                          Lani A. Adler
                                                          ladler@laniadlerpartners.com

                                                    275 West 96th Street, Suite 15G
                                                    New York, New York 10025
                                                    Telephone: (646) 732-3260

                                                    Attorneys for Defendant Suburban
                                                    Mortgage, Inc.


                                                    AMERICAN MORTGAGE LAW
                                                    GROUP

                                 By:                      /s/ Tracy L. Henderson, Esq.
                                                          Tracy L. Henderson, Esq.
                                                          Pro Hac Vice
                                                          thenderson@americanmlg.com

                                                    775 Baywood Drive, Suite 100
                                                    Petaluma, California 94954
                                                    Telephone: (707) 456-4043

                                                    Attorneys for Certain Defendants


                                                    SHAPIRO BIEGING BARBER
                                                    OTTESON LLP

                                 By:                      /s/ John C. Leininger
                                                          John C Leininger
                                                          Texas Bar No. 24007544
                                                          jcl@sbbolaw.com

                                                    1540 Lyndon B. Johnson Freeway
                                                    Suite 1540
                                                    Dallas, Texas 75240
                                                    Telephone: (214) 377-0146
Attorneys for Seattle Bank f/k/a Seattle
Savings Bank; and Gateway Mortgage
Group, LLC
